            Case 3:21-cv-00261-L Document 11 Filed 04/13/21                       Page 1 of 1 PageID 329
BTXN 099 (rev. 12/14)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Highland Capital Management, L.P.                           §    Case No.: 19−34054−sgj11
                                                            §    Chapter No.: 11
                                         Debtor(s)          §    Civil Case No.:   3:21−CV−00261−L (Lindsay)
                                                            §
The Dugaboy Investment Trust and Get Good Trust             §
                                     Appellant(s)           §
     vs.                                                    §
Highland Capital Management, L.P.                           §
                                     Appellee(s)            §
                                                            §
                                                            §
                                                            §
                                                            §


                 TRANSMITTAL AND CERTIFICATION OF RECORD ON APPEAL
     Pursuant to Federal Rules of Bankruptcy Procedure 8010, the appeal filed on 2/1/2021 regarding [1788] Order
granting motion to compromise controversy with Harbour Vest and authorizing actions. Entered on 1/21/2021. by
Highland Capital Management, L.P. in the above styled bankruptcy case is hereby transmitted to the U.S. District
Court for the Northern District of Texas.

    This record on appeal contains all items listed on the attached index, and is in compliance with Rule 8010 of the
Federal Rules of Bankruptcy Procedure.

     All further pleadings or inquiries regarding this matter should be directed to the U.S. District Clerk's Office until
such time as the appeal is fully processed in the U.S. District Court.

      The above referenced record was delivered to the U.S. District Clerk's Office on April 13, 2021.



DATED: 4/13/21                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/J. Blanco, Deputy Clerk
